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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


   STEPHEN KNUTH,

                Plaintiff,

   v.                                                     Case No. 3:16-cv-714-J-34JRK

   DEPARTMENT STORES NATIONAL
   BANK,

                Defendant.



                                ORDER OF DISMISSAL

         THIS CAUSE is before the Court on the Joint Stipulation of Dismissal With

   Prejudice and Response to Order to Show Cause (Dkt. No. 10; Stipulation) filed on August

   17, 2016. In the Stipulation, the parties request dismissal of this matter with prejudice.

   See Stipulation at 1. Accordingly, it is hereby

         ORDERED:

         1.     This case is DISMISSED with prejudice.

         2.     Each party shall bear his or its own attorneys’ fees and costs.

         3.     The Order to Show Cause (Dkt. No. 9) is DISCHARGED.
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         4.     The Clerk of the Court is directed to terminate all pending motions and close

                the file.

         DONE AND ORDERED in Jacksonville, Florida this 18th day of August, 2016.




   ja

   Copies to:

   Counsel of Record




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